Case 2:18-cv-00491-JRG-RSP Document 26 Filed 05/20/19 Page 1 of 3 PageID #: 295




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION
  UNILOC 2017, LLC et al.                         §         CIVIL ACTION NOS. 2-18-cv-00491,
       Plaintiffs,                                §        -492, -493, -494, -495, -496, -497, -498,
    v.                                            §           -499, -500, -501, -502, -503, -504
                                                  §
  GOOGLE LLC,                                     §            JURY TRIAL DEMANDED
      Defendant.                                  §
                                                  §

                 UNOPPOSED MOTION FOR LEAVE TO FILE RESPONSE
                       TO MOTION TO DISMISS UNDER SEAL

        Plaintiffs Uniloc 2017, LLC and Uniloc USA, Inc. (collectively “Uniloc”) respectfully

 request leave to file Uniloc’s response to Defendant Google’s LLC’s (“Google”) Motions to

 Dismiss in the above referenced cases under seal. In support of its unopposed Motion, Plaintiffs

 state as follows:

        1.      On the below-referenced dates, Defendants filed similar Motions to Dismiss.

 Through extensions, the current response dates for each motion is as indicated.

       Case Number            Lawsuit Date            Motion to Dismiss            Response Date
      2:2018cv00491            11/17/2018                4/19/2019                   5/20/2019
      2:2018cv00492            11/17/2018                4/19/2019                   5/20/2019
      2:2018cv00493            11/17/2018                4/26/2019                   5/20/2019
      2:2018cv00494            11/17/2018                4/26/2019                   5/20/2019
      2:2018cv00495            11/17/2018                 5/8/2019                   5/22/2019
      2:2018cv00496            11/17/2018                4/19/2019                   5/20/2019
      2:2018cv00497            11/17/2018                4/26/2019                   5/20/2019
      2:2018cv00498            11/17/2018                 5/8/2019                   5/22/2019
      2:2018cv00499            11/17/2018                4/19/2019                   5/20/2019
      2:2018cv00500            11/17/2018                4/19/2019                   5/20/2019
      2:2018cv00501            11/17/2018                 5/8/2019                   5/22/2019
      2:2018cv00502            11/17/2018                 5/8/2019                   5/22/2019
      2:2018cv00503            11/17/2018                4/26/2019                   5/20/2019
      2:2018cv00504            11/17/2018                4/26/2019                   5/20/2019




                                             Page 1 of 3
Case 2:18-cv-00491-JRG-RSP Document 26 Filed 05/20/19 Page 2 of 3 PageID #: 296




        2.      A Protective Order has not been entered in this matter. Plaintiffs intend to file

 Responses. In doing so, Plaintiffs will reference confidential information necessitating

 a need to file the Responses under seal.

        3.      Counsel for Plaintiffs conferred with counsel for the Defendant regarding the

 requested relief. Counsel for the Defendant does not oppose Plaintiffs’ request to file the

 Responses under seal.

        4.

 Dated: May 20, 2019                         Respectfully submitted,

                                             By: /s/ Ryan S. Loveless

                                             James L. Etheridge
                                             Texas Bar No. 24059147
                                             Ryan S. Loveless
                                             Texas Bar No. 24036997
                                             Brett A. Mangrum
                                             Texas Bar No. 24065671
                                             Travis L. Richins
                                              Texas Bar No. 24061296
                                             Jeff Huang
                                             Etheridge Law Group, PLLC
                                             2600 E. Southlake Blvd., Suite 120 / 324
                                             Southlake, TX 76092
                                             Tel.: (817) 470-7249
                                             Fax: (817) 887-5950
                                             Jim@EtheridgeLaw.com
                                             Ryan@EtheridgeLaw.com
                                             Brett@EtheridgeLaw.com
                                             Travis@EtheridgeLaw.com
                                             Jeff@EtheridgeLaw.com

                                             ATTORNEYS FOR UNILOC




                                            Page 2 of 3
Case 2:18-cv-00491-JRG-RSP Document 26 Filed 05/20/19 Page 3 of 3 PageID #: 297




                             CERTIFICATE OF CONFERENCE

        Counsel for Plaintiffs has conferred with counsel for Defendant. Defendant has indicated

 that they are unopposed to this motion.

                                                     /s/ Ryan S. Loveless
                                                     Ryan S. Loveless




                                 CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record, who are deemed to have consented to electronic

 service are being served this May 20, 2019, with a copy of this document via the Court’s CM/ECF

 system.
                                                     /s/ Ryan S. Loveless
                                                     Ryan S. Loveless




                                           Page 3 of 3
